Case 1:18-cv-00372-LTB Document 8 Filed 03/21/18 USDC Colorado Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


Civil Action No. 18-cv-00372-LTB

FRANK K. DICKMAN, JR.,

      Plaintiff,

v.

MICROSOFT CORPORATION, and
SATYA NADELIA (CEO Microsoft Corporation),

      Defendants.


                                     JUDGMENT


      Pursuant to and in accordance with the Order of Dismissal entered by Lewis T.

Babcock, Senior District Judge, on March 21, 2018, it is hereby

      ORDERED that Judgment is entered in favor of Defendants and against Plaintiff.

      DATED at Denver, Colorado, this 21 day of March, 2018.

                                        FOR THE COURT,

                                        JEFFREY P. COLWELL, Clerk



                                        By: s/ A. Garcia Garcia
                                               Deputy Clerk
